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Attorney for the Chapter 7 Trustee


                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF MONTANA

 In Re:
 DONNA MOHLER and SEAN MOHLER                      Case No. 19-60025


           Debtors



            CHAPTER 7 TRUSTEE’S MOTION TO APPROVE A SHORT SALE
        OF REAL PROPERTY FREE AND CLEAR OF LIENS AND INTERESTS
      PURSUANT TO 11 U.S.C. § 363 AND CARVE OUT AGREEMENT BETWEEN
                    SECURED LENDER AND THE ESTATE


          Darcy M. Crum, Chapter 7 Trustee for the above-referenced Debtors, pursuant to

Sections 105 and 363 of the Bankruptcy Code, moves the Court for authority to sell certain real

property free and clear of all liens, encumbrances, and interests. In support thereof, the Trustee

states as follows:

                                               JURISDICTION

          1.     This Court has jurisdiction to consider this Motion pursuant to 28 U.S.C. §§ 157

and 1334. This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2)(A), (M),

(N), and (O).

          2.     Venue is proper before this Court pursuant to 28 U.S.C. §§1408 and 1409.
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       3.      The basis for the relief requested are 11 U.S.C. §§ 363(b), (f), and (m), Federal

Rules of Bankruptcy Procedure 2002 and 6004.

                                          BACKGROUND

       4.      Debtors filed this Chapter 7 Bankruptcy on January 8, 2019. Darcy M. Crum was

appointed the Chapter 7 Trustee on January 8, 2019.

       5.      Debtors listed a 100% ownership interest in the real property located at 3305

14TH ST NE GREAT FALLS, MT 59404 (the “Property”) and legally described as follows:

       THE LAND REFERRED TO HEREIN BELOW IS SITUATED IN THE COUNTY OF CASCADE,
       STATE OF MONTANA, AND IS DESCRIBED AS FOLLOWS:

       LOT 8, BLOCK 2, WATERTOWER PARK ADDITION, TO THE CITY OF GREAT FALLS, LOCATED
       IN THE NE1/4NE1/4 OF SECTION 36, TOWNSHIP 21 NORTH, RANGE 3 EAST, PMM, CASCADE
       COUNTY, MONTANA, ACCORDING TO THE PLAT NO. P-2009-0000007, FILED MARCH 12, 2009,
       RECORDS OF CASCADE COUNTY, MONTANA.

       6.      Debtors scheduled the Property as having a value of $365,000.00 subject to a

mortgage in favor of Mr. Cooper (the “Secured Creditor”) of approximately $358,521.78 as of

the petition date. The Secured Creditor possesses a valid, perfected, enforceable and unavoidable

first mortgage lien on the Property by virtue of a promissory note and mortgage recorded in the

Official Records of Cascade County, Montana, consisting of principal and interest (the “Secured

Creditor Indebtedness”). There are no junior lienholders and the Debtors did not claim a

homestead exemption in the Property.


       7.     The Trustee has determined it is in the best interest of the Debtors’ estate and all

creditors to obtain the Secured Creditor’s agreement and consent to sell the Property, release the

mortgage and waive all of its claims against the estate with respect to the Property (including any

deficiency claims resulting from the proposed sale); and agree to a 11 U.S.C. §506 surcharge to

pay all of the expenses associated with the proposed sale, including the payment of a 6% realtor

commission to BK Global Real Estate Services (“BK Global”) and REMAX of Great Falls as co-

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realtors (Order on Application to Employ, Dkt. #24) and reimbursement of their out-of-pocket

expenses, and provide a carve out for the benefit of allowed unsecured creditors of the Debtors’

estate.

          8.    The Trustee Handbook specifically permits carve-outs from a secured creditor,

provided the carve-out will result in a meaningful distribution to unsecured creditors, whether

priority or unsecured.

                                        RELIEF REQUESTED

          9.    The Trustee desires to sell the Property to Dylan Anderson and McKinzie Horton,

of Great Falls, Montana, free and clear of all liens, claims, encumbrances, and interests pursuant

to 11 U.S.C. 363, in the amount of $317,500.00 according to the terms of the Buy-Sell

Agreement and Addendum, attached hereto as Exhibit A, but otherwise “As-Is, Where-Is” and

without representations or warranties of any type, express or implied, being given by the Trustee

and her professionals. The Trustee believes the price is fair based on the realtor’s valuation of

the property and because the sale price was negotiated pursuant to an arm’s-length transaction.

          10.    The Secured Creditor has approved the offer and consents to the Property’s sale

and the creation of a carve-out for the Bankruptcy Estate of $15,875.00. The carve-out will

provide a recovery for unsecured creditors.

          11.   The Secured Creditor has agreed to pay at closing all closing costs, outstanding

real estate taxes, including any prorated amounts due for the current tax year; and the carve out

to the Trustee. A summary of the anticipated sale proceeds and their application is set forth in

the estimated settlement statement, attached hereto as Exhibit B:

Gross Sales Price                                                               $317,500.00
Payoff to Mr. Cooper                                                            $276,127.76
Realtor Commission
                                                                                 $19,600.00
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Other closing costs (estimated)
(including taxes, title insurance)                                                  $6,500.00

Carve out to the Estate                                                            $15,875.00


        12.     Pursuant to Section 363(f)(2) of the Bankruptcy Code, the Trustee may sell

property free and clear of any interest in such property of an entity other than the estate if the

party asserting such interest consents. Here, the Secured Creditor consents to a sale of the

property under Section 363(f)(2) of the Bankruptcy Code, free and clear of all liens, claims,

encumbrances, and interests. Attached as Exhibit C is the letter of consent/approval from the

Secured Creditor.

        13.     Section 363(m) of the Bankruptcy Code protects a good faith purchaser’s interest

in property purchased from a debtor notwithstanding that the sale conducted under section

363(b) was later reversed or modified on appeal. The Trustee asserts the sale of the Property

utilized a competitive and transparent marketplace that facilitated an arm’s-length sale without

fraud or collusion. Accordingly, the Trustee requests the Court find that the purchaser be

entitled to the protections of Section 363(m) of the Bankruptcy Code.

        14.     The Trustee has determined, based upon a review of Claims Register, there will

be a meaningful distribution to creditors, so in her opinion the proposed sale is in the best interest

of the estate and its creditors.

        15.     The Trustee desires the sale proceeds to be paid by the closing agent, Brightline

Title, 5405 Cypress Center Drive, Suite 150, Tampa, FL 33609, on behalf of the Trustee as

follows: a) all normal and usual selling and closing costs, including the 6% realtor commission to

BK Global Real Estate Services (“BK Global”) and REMAX of Great Falls; b) all outstanding

taxes and real property assessments against the property; c) the carve-out of $15,875.00 to the

Trustee, d) the balance to the secured creditor Mr. Cooper.

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       16.      The Trustee requests the Court: (a) waive the 14 day stay pursuant to Rule

6004(h), deem the sale order enforceable immediately upon entry, and authorize the Trustee to

close on the sale immediately upon entry of the Order; (b) authorize the Trustee to take all

actions and execute all documents she deems reasonable, necessary and/or desirable to effectuate

the requested relief; (c) retain sole and exclusive personal subject matter jurisdiction to

implement, interpret and enforce the terms of the this Motion and the Order; and (d) adjudicate

all claims, controversies and/or disputes arising from or related to the proposed sale.

       WHEREFORE, Trustee respectfully requests the Court enter an Order approving the

short sale of the Property pursuant to the terms and conditions set forth above and pursuant to

Sections 105 and 363 of the Bankruptcy Code and for such other and further relief as this Court

deems proper.

       Dated this 31st day of July, 2019.
                                                      Rebeck & Crum
                                                      An Association for the Practice of Law

                                                      /s/ Darcy M. Crum
                                                      Darcy M. Crum
                                                      Attorney for Trustee

                        NOTICE OF OPPORTUNITY TO RESPOND
                             AND REQUEST A HEARING

       The Trustee has requested the Court shorten time to file a responsive
       pleadings to August 10, 2019. If you object to this motion, you must file a
       written responsive pleading and request a hearing within the approved time
       limit. The responding party shall schedule the hearing on the motion and
       shall include in the caption of the responsive pleading in bold and
       conspicuous print the date, time and location of the hearing by inserting in
       the caption the following:

                                   NOTICE OF HEARING
                          Date: ________________________________
                          Time: ________________________________
                          Location: _____________________________

       If no objections are timely filed, the Court may grant the relief requested as
       a failure to respond by any entity shall be deemed an admission that the
       relief requested should be granted.
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        DATED this 31st day of July, 2019.
                                                     Rebeck & Crum
                                                     An Association for the Practice of Law

                                                     /s/ Darcy M. Crum
                                                     Darcy M. Crum
                                                     Attorney for Trustee

                                    CERTIFICATE OF SERVICE

        Under penalty of perjury, I hereby certify a true and correct copy of the foregoing was
served electronically by the Court’s ECF notice to all persons/ entities requesting special notice
or otherwise entitled to the same and that in addition service by mailing via first-class United
States Mail, postage prepaid, was made to the following persons/entities who are not ECF
registered users this 31st day July, 2019:

Ally Bank                                            Kirkland, WA 98083-0788
PO Box 130424
Roseville, MN 55113-0004                             Synchrony Bank
                                                     c/o PRA Receivables Management, LLC
Capital One Bank (USA), N.A.                         PO Box 41021
by American InfoSource as agent                      Norfolk VA 23541-1021
PO Box 71083
Charlotte, NC 28272-1083                             WESTMARK CREDIT UNION
                                                     PO BOX 2869
Department Stores National Bank                      IDAHO FALLS ID 83403-2869
c/o Quantum3 Group LLC
PO Box 657                                           DONNA B MOHLER
Kirkland, WA 98083-0657                              6850 BLACK POWDER RD
                                                     MORGAN, UT 84050-9740
MERRICK BANK
Resurgent Capital Services                           SEAN M MOHLER
PO Box 10368                                         316 TALON DR
Greenville, SC 29603-0368                            GRAND JUNCTION, CO 81503-3831

Navient Solutions, LLC. On behalf of                 IRS
Department of Education Loan Services                PO Box 802501
PO BOX 9635                                          Cincinnati, OH 45280-2501
Wilkes-Barre, PA 18773-9635
                                                     BK Global
PYOD, LLC                                            1095 Broken Sound Pkwy NW, Suite 100
Resurgent Capital Services                           Boca Raton, FL 33487
PO Box 19008
Greenville, SC 29602-9008                            ReMax of Great Falls
                                                     Attention: Kelcie Van Voast
Quantum3 Group LLC as agent for                      920 Central Avenue
Comenity Capital Bank                                Great Falls, MT 59401
PO Box 788




                                                     /s/ Darcy M. Crum
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